     Case 2:06-cr-00210-LDG-VCF        Document 1079       Filed 12/03/10    Page 1 of 1




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 7                          UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11          Plaintiff,                              Case No. 2:06-cr-00210-LDG (LRL)

12   v.                                             ORDER

13   SHERRIE SHUTT,

14          Defendant.

15

16          Sherrie Shutt has sent the court a letter requesting that the court remove the

17   condition of her supervised release that she have no contact with Thomas Hunter (#1071).

18   The government opposes the request (#1073). The Court has considered the arguments

19   of the parties and finds that no just reason exists to modify or rescind the condition that

20   Shutt have no contact with Hunter. Accordingly,

21          THE COURT ORDERS that Defendant Sherrie Shutt’s Request to Modify the “No

22   Contact” condition of her supervised release (#1071) is DENIED.

23    DATED this ______ day of December, 2010.
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25                                                               Lloyd D. George
                                                                 United States District Judge
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